           Case 1:01-cr-05359-AWI Document 184 Filed 06/18/07 Page 1 of 3

 1    Steven E. Paganetti (SBN 087513)
      WILD, CARTER & TIPTON
 2    A Professional Corporation
      246 West Shaw Avenue
 3    Post Office Box 16339
      Fresno, California 93755-6339
 4    Telephone: (559) 224-2131
      Facsimile: (559) 224-8462
 5
      Attorneys for Defendant
 6    STEVEN M. GROTE

 7

 8                                  UNITED STATES DISTRICT COURT

 9                           EASTERN DISTRICT OF CALIFORNIA-FRESNO

10
      UNITED STATES OF AMERICA,                            )   Case Number CR-F-01-5359 AWI
11                                                         )
                               Plaintiff,                  )   STIPULATION AND ORDER
12                                                         )   RESCHEDULING TRIAL AND
      v.                                                   )   MOTIONS IN LIMINE
13                                                         )
      STEVEN M. GROTE,                                     )
14                                                         )
                               Defendant.                  )
15                                                         )

16
                       The parties, through their respective counsel, agree upon the following facts:
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                       1.      This case is currently set for Trial on July 10, 2007. However, one of
18
     government’s central witnesses FBI Agent is unavailable.
19
 WILD, 246
       CARTER
         Fresno,
           West
             P. O. & TIPTON
                 Shaw
                 California
                   Box Avenue
                       1633993755-6339
                            2.       In addition, the parties are attempting to set up meetings between defense
20
     counsel and the government attorneys to discuss possible resolution of the case. Because of the
21
     complexity of the accounting in this case, these meetings take considerable preparation. If
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     successful, however, these meetings could result in a resolution of this case without trial. All
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     counsel believe this is a case which should be resolved without trial to avoid any further
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     government resources and attorneys fees.
25
                            3.       In addition, because of the complexity of the case and the trial schedules
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     of both parties, the parties agree that they need additional time for effective preparation of this
27
     case for trial.
28
                            Therefore, the parties agree that the Court can issue the following order:

      STIPULATION AND ORDER RESCHEDULING TRIAL AND MOTIONS IN LIMINE
         Case 1:01-cr-05359-AWI Document 184 Filed 06/18/07 Page 2 of 3

 1                       1.        The Jury Trial, presently scheduled for July 10, 2007, shall be rescheduled

 2                                 for September 25, 2007, at 9:00 a.m..

 3                       2.        The hearing to consider motions in and the trial confirmation hearing,

 4                                 presently scheduled for June 25, 2007 shall be rescheduled for September

 5                                 10, 2007 at 9:00 a.m.

 6                       3.        All motions in limine, with supporting points and authorities, shall be filed

 7                                 and served by 4:00 p.m. on August 10, 2007.

 8                       4.        Opposition to any motion in limine shall be filed and served by 4:00 p.m.

 9                                 on August 24, 2007.

10                       5.        Replies to any opposition shall be filed and served by 4:00 p.m. on August

11                                 31, 2007.

12                       6.        Pre-trial filings required by the Pre-Trial Order-including witness lists,

13                                 trial briefs, exhibits, proposed voir dire questions, notice of the use of

14                                 videotape and computers, and the agreed summary of the case-presently

15                                 due on July 5, 2007, shall be filed by 4:00 p.m. on September 20.

16                       7.        Time shall be excluded until September 25, in the interests of justice

17                                 pursuant to 18 U.S.C. §3161(h)(8)(A).

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 WILD,Dated:
19     CARTER
      246
        Fresno,
          West June
            P. O.
                Shaw   12,93755-6339
                  & TIPTON
                California
                  Box      2007
                      Avenue
                      16339                                U.S. DEPARTMENT OF JUSTICE
                                                           United States Attorney
20                                                         Eastern District of California

21
                                                           By:          /s/ Mark J. McKeon
22                                                                MARK J. McKEON
                                                                  Assistant U.S. Attorney
23

24     Dated: June 12, 2007                                WILD, CARTER & TIPTON
                                                           A Professional Corporation
25

26                                                         By:           /s/ Steven E. Paganetti
                                                                  STEVEN E. PAGANETTI
27                                                                Attorneys for Defendant,
                                                                  Steven M. Grote
28
                                                              2
       STIPULATION AND ORDER RESCHEDULING TRIAL AND MOTIONS IN LIMINE
          Case 1:01-cr-05359-AWI Document 184 Filed 06/18/07 Page 3 of 3

 1
                                             ORDER
 2

 3
        IT IS SO ORDERED.
 4
        Dated:        June 15, 2007               /s/ Anthony W. Ishii
 5      0m8i78                              UNITED STATES DISTRICT JUDGE

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       CARTER
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           West
             P. O. & TIPTON
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                 California
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        STIPULATION AND ORDER RESCHEDULING TRIAL AND MOTIONS IN LIMINE
